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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


NATIONWIDE MUTUAL INSURANCE           :
COMPANY, ET AL.                       :
                                      :     CIVIL ACTION NO.
                VS.                   :
                                      :     18-CV-01410
ELECTROSTIM MEDICAL SERVICES,         :
INC. AND MARIO GARCIA, JR.            :


                                   ORDER

     AND NOW, TO WIT:      On this 1ST day of May, 2019, it having been
reported that the issues between the parties in the above-action have
been settled and upon Order of the Court pursuant to the provisions of
Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, it is

     ORDERED that the above action is DISMISSED with prejudice, pursuant
to agreement of counsel without costs.

     The Court will retain jurisdiction for 90 days to hear motions to
vacate, modify, or strike from record, for cause shown, entry of the
order of dismissal. Local Rule of Civil Procedure 41.1(b); see Sawka
v. Healtheast, Inc. 989 F.2d 138 (3d Cir. 1993).


      IT IS SO ORDERED.

                                           BY THE COURT:



                                           /s/ Eduardo C. Robreno
                                           EDUARDO C. ROBRENO,    J.




CC:   All Counsel
